

People v Allen (2021 NY Slip Op 03925)





People v Allen


2021 NY Slip Op 03925


Decided on June 17, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 17, 2021

Before: Acosta, P.J., Webber, Mazzarelli, Kennedy, JJ. 


Ind No. 225/15, 4330/15 Appeal No. 14076 Case No. 2017-2289 

[*1]The People of The State of New York, Respondent, 
vCourtland Allen, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (DÉsirÉe Sheridan of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Luis Morales of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (James Burke, J.), rendered November 16, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 17, 2021
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








